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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF KENTUCKY
                              CENTRAL DIVISION
                                 LEXINGTON

 UNITED STATES OF AMERICA,                        )
                                                  )
        Plaintiff,                                )            No. 5:18-CV-463-REW
                                                  )
 v.                                               )
                                                  )                    ORDER
 JERRY LYNN TOWNSEND, et al.,                     )
                                                  )
        Defendants.                               )

                                   *** *** *** ***

       On July 23, 2018, the United States initiated this foreclosure action against

Defendants Jerry Lynn Townsend, Pamela R. Townsend, and the Kentucky Department

of Revenue’s Collections Division. DE 1 (Complaint). The at-issue property is located at

332 Vanover Way, Winchester, Kentucky 40391. The Government now pursues warning

order issuance for Defendants Pamela and Jerry Lynn Townsend, and appointment of

warning order counsel. DE 8 (Motion).

       “The Federal Rules of Civil Procedure [ ] do not expressly provide for

appointment of a warning order attorney.” In re Air Crash at Lexington, Ky., Aug. 27,

2006, No. CIV.A.5:06CV316-KSF, 2008 WL 217123, at *2 (E.D. Ky. Jan. 25, 2008)

(citing Fed. R. Civ. P. 4). As authority for the request, Plaintiff cites to Federal Rule 4,

subsections (e)(1) & (g), and Kentucky Rules 4.05-.08. See DE 8, at 3.

       “Fed. R. Civ. P. 4(e)(1) provides that an individual may be served following the

state law for serving a summons, which may include, in the Commonwealth of Kentucky,

service by warning order attorney under the auspices of Ky. CR 4.05, 4.06, and 4.07.”

United States v. Townsend, No. 5:10-CV-381-JMH, 2010 WL 5014373, at *1 (E.D. Ky.

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Dec. 3, 2010). Thus, the Court turns to Kentucky Rule 4.05(e), which permits

constructive service on a party “whose name or place of residence is unknown to the

plaintiff;” for such a party the Court may, “subject to the provisions of Rule 4.06, [issue]

an order upon the complaint warning the party to appear and defend the action within 50

days.” Id. Kentucky requires “strict compliance with [the warning order] rules[.]” Nolph

v. Scott, 725 S.W.2d 860, 861 (Ky. 1987)

       Counsel’s affidavit satisfies the permissive Rule 4.05(e) predicate—see DE 8-1, at

¶ 2 and 3 (stating, after failed service attempts, that the Townsend Defendants are

individuals “whose place of residence is unknown to the Plaintiff”)—and meets the

referenced Rule 4.06 strictures.1 Under the circumstances, Kentucky law requires no

more for warning order issuance. See CR 4.06(2) (“An affidavit made pursuant to the

provisions of Rule 4.06(1), unless it is controverted by the defendant's affidavit, shall be

sufficient evidence of the facts therein stated for the support of the action as well as of the

warning order.”). The Court, finding Plaintiff’s request compliant with Kentucky

mechanics and pursuant to Federal Rule 4(e)(1), will enter a warning order for both

Townsend Defendants.

       Further, the Kentucky rules mandate warning order attorney appointment

concurrent with issuance of any warning order. See CR 4.07(1) (“The clerk at the time of

making a warning order shall appoint, as attorney for the defendant, a practicing attorney


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  Kentucky Rule 4.06(1) requires an affiant to “state the last known address of the
defendant, . . . or shall state his ignorance of such of those facts as he does not know.” Id.
Additionally, non-plaintiff Rule 4.05 affiants must state their “connection with the
plaintiff and [their] belief that the plaintiff is ignorant of such facts as are unknown to the
affiant.” Id. Counsel’s affidavit complies with the Rule 4.06 requirements. See DE 4-1, at
¶ 1 (connection to Plaintiff), Second ¶ 3 (last known addresses), ¶ 4 (Plaintiff’s ignorance
of facts unknown to affiant).

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of the court.”). The Court views Plaintiff’s clearance of the Rule 4.05 hurdle as both

necessary and sufficient to warrant the requested Rule 4.07 appointments. Accordingly,

the Court, for the reasons stated, GRANTS DE 4 and ORDERS as follows:

       1. The Court hereby NOTIFIES Jerry Lynn Townsend and Pamela R.

           Townsend that the United States has initiated an action naming you as a

           Defendant in federal court. See DE 1. The Court further WARNS these

           Defendants that a failure to appear and defend in this action within 51 days

           could result in entry of a default judgment in the Plaintiff’s favor. See CR 4.08

           (“A defendant constructively summoned shall be deemed to have been

           summoned on the 30th day after the entry of a warning order and the action

           may proceed accordingly.”); Fed. R. Civ. P. 12(a)(1)(A) (“A defendant must

           serve an answer . . . within 21 days after being served with the summons and

           complaint[.]”).

       2. The Court APPOINTS the following practicing attorneys in good standing as

           Warning Order Attorneys for the following defendants:

John W. Oakley, II
Oakley & Oakley
271 W. Short Street, Suite 111                   For Defendant Jerry Lynn Townsend
Lexington, KY 40507
859-254-4035
jay@oakleylawky.com

Kathryn Ann Walton
271 W. Short Street, Suite 812
Lexington, KY 40507                              For Defendant Pamela R. Townsend
859-233-4441
kathy@kwaltonlawyer.com




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       3. The Warning Order Attorneys shall:

             a. Make diligent efforts to inform the Defendants, by mail, concerning

                 the pendency and nature of this mortgage foreclosure action. The

                 Plaintiff’s cause of action is for the foreclosure of the Plaintiff’s

                 mortgage lien on the subject real property. The Plaintiff’s motion for

                 entry of this Order sets forth the at-issue property’s address and the

                 Defendants’ addresses last known to the Plaintiff.;

             b. Report the results of their efforts to the Court within 60 days from the

                 date of entry of this Order. Counsel shall verify their reports or submit

                 a supporting affidavit. The reports must include (if applicable) service

                 effort details, supporting documentation communicated or sent to

                 Defendants to effect service, and copies of counsel’s written

                 correspondence;

             c. If the Warning Order Attorneys are unable to notify the Defendants

                 regarding this action’s pendency, they shall so report, and, if able to

                 present a defense, shall then file an answer on Defendant’s behalf.

                 Alternatively, if the Warning Order Attorneys are unable to mount a

                 defense, they shall include that information in their reports;

             d. Provide a copy of the report to counsel of record for the United States.

       4. The Court authorizes the Warning Order Attorneys, in connection with their

          efforts to notify the defendants, to incur reasonable expenses such as postage,

          expenses attendant to public records searches, expenses attendant to on-line

          locator services, and telephone charges. However, the Court requires the



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          Warning Order Attorneys to seek leave before incurring extraordinary

          expenses outside these categories such as newspaper advertisement charges

          and private investigator fees.

       5. Upon receipt of this Order, Plaintiff’s counsel shall cause to be delivered, by

          mail or by electronic means, to the Warning Order Attorneys’ offices the

          following: a copy of the Complaint, a copy of the Plaintiff’s motion for this

          Order, and a copy of this Order.

       6. Upon report filing, the Warning Order Attorneys may also file a motion and

          affidavit for payment of the Warning Order Attorney’s fee and expenses. The

          Court will award the Warning Order Attorneys the customary fee for such

          services as well as reasonable expenses. The Warning Order Attorneys’ fees

          and expenses shall be taxed as costs.

       7. The Warning Order Attorneys may notify the Court if payment is not received

          within (60) days of any Order awarding fees and expenses.

              This the 27th day of September, 2018.




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